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Joint Rebuttal Declaration of
 Jason “Jay” Barnes, Lesley
Weaver, and David Straite in
Further Support of Plaintiffs’
    Motion for Discover
        Misconduct

    Redacted Version of
Document Sought to be Sealed
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 1     BLEICHMAR FONTI & AULD LLP                           SIMMONS HANLY CONROY LLC
       Lesley Weaver (Cal. Bar No.191305)                   Jason ‘Jay’ Barnes (admitted pro hac vice)
 2     Angelica M. Ornelas (Cal. Bar No. 285929)            An Truong (admitted pro hac vice)
       Joshua D. Samra (Cal. Bar No. 313050)                Eric Johnson (admitted pro hac vice)
 3     555 12th Street, Suite 1600                          112 Madison Avenue, 7th Floor
       Oakland, CA 94607                                    New York, NY 10016
 4     Tel.: (415) 445-4003                                 Tel.: (212) 784-6400
       Fax: (415) 445-4020                                  Fax: (212) 213-5949
 5     lweaver@bfalaw.com                                   jaybarnes@simmonsfirm.com
       aornelas@bfalaw.com                                  atruong@simmonsfirm.com
 6     jsamra@bfalaw.com                                    ejohnson@simmonsfirm.com
 7
       DiCELLO LEVITT GUTZLER LLC                           DiCELLO LEVITT GUTZLER LLC
 8     David A. Straite (admitted pro hac vice)             Amy Keller (admitted pro hac vice)
       Corban Rhodes (admitted pro hac vice)                Adam Prom (admitted pro hac vice)
 9     One Grand Central Place                              Sharon Cruz (admitted pro hac vice)
       60 East 42nd Street, Suite 2400                      Ten North Dearborn St., 6th Floor
10     New York, NY 10165                                   Chicago, IL 60602
       Tel.: (646) 933-1000                                 Tel.: (312) 214-7900
11     dstraite@dicellolevitt.com                           akeller@dicellolevitt.com
       crhodes@dicellolevitt.com                            scruz@dicellolevitt.com
12                                                          aprom@dicellolevitt.com
       Co-Counsel for Plaintiffs
13
                           IN THE UNITED STATES DISTRICT COURT
14                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
15

16     PATRICK CALHOUN, et al., on behalf of                Case No. 4:20-cv-05146-YGR-SVK
       themselves and all others similarly situated,
17                                                          JOINT REBUTTAL DECLARATION OF
                              Plaintiffs,                   JASON “JAY” BARNES, LESLEY
18                                                          WEAVER, AND DAVID STRAITE IN
              v.                                            FURTHER SUPPORT OF PLAINTIFFS’
19                                                          MOTION FOR DISCOVERY
       GOOGLE LLC,                                          MISCONDUCT
20
                              Defendant.
21

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23
               UNREDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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 1           We, Jay Barnes, Lesley E. Weaver, and David A. Straite, hereby declare under penalty of
 2    perjury:
 3           1.      We are co-counsel of record for Plaintiffs in this matter and jointly submit this
 4    rebuttal declaration (“Joint Rebuttal Declaration”) for the purpose of responding to and correcting
 5    facts asserted in Google’s July 1, 2022 Opposition to Plaintiffs’ Motion for an Order of Sanctions
 6    for Google’s Discovery Misconduct (Dkt. 748) (“Google’s Opposition” or “Opp.”).
 7           2.      The statements herein are based on personal knowledge, and if called as witnesses,
 8    we could testify competently to the facts set forth herein.
 9    I.     THE “NOT-SYNCED” SIGNALS
10           A.      Evidence Rebutting Google’s Argument that the Not-Synced Signals Were
                     Publicly Disclosed
11
             3.      Google’s Opposition asserts that Not-Synced signals were “publicly disclosed in
12
      chrome://sync-internals/, publicly available source code at https://source.chronmium.org/
13
      chromium, and can be observed through inspecting network traffic with chrome://net-export/.” Opp.
14
      at 4:5-6. We are not aware of any evidence, expert or otherwise, supporting Google Counsel’s
15
      characterization of this public document.
16
             4.      In contrast, attached hereto as Exhibit 13 is the rebuttal expert declaration of Richard
17
      Smith dated July 21, 2022 (“Smith Rebuttal”), concluding that Google’s assertion is misleading.1
18
             B.      Evidence Rebutting Google’s Argument that Google’s October 2021 Responses
19                   to RFAs Cured Earlier False Statements Regarding the Not-Synced Signals

20           5.      Google’s Opposition also asserts that Google “confirmed the existence of [Not

21    Synced] signals on October 12, 2021 in response to Plaintiffs’ request for admission[.]” Opp. at 4:9-

22    11. In support, Google cites to its written responses to Plaintiffs’ First Set of Request for Admission

23    (“RFA”) Nos. 13 and 18; see also Declaration of Google counsel Alyssa Olson dated July 1, 2022

24    (“Olson Decl.” Dkt. No. 748-4), attaching Google’s responses to the RFAs as Olson Ex. 4.

25           6.      Omitted from Google’s argument, however, are the relevant facts and circumstances

26    surrounding Plaintiffs’ attempt to get Google to clarify these very responses.

27           7.      Plaintiffs served RFA Set No. 1 on September 10, 2021. Google served it responses
      1
28      Exhibits to this Joint Rebuttal Declaration start with Exhibit 13, continuing the sequential
      numbering of Exs. 1-12 to the original Joint Declaration dated May 24, 2022 (Dkt. No. 670-1).

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 1    data actually means Google searched for data it knew to be already mostly deleted. See Joint Decl.
 2    ¶¶ 69-83.
 3            C.      Google Failed to Preserve and Produce Zwieback-keyed Information
 4            39.     Google’s Opposition also asserts that “Zwieback ID is not used to key the data at
 5    issue[.]” Opp. at 11, n.11. This assertion is false.
 6            40.     The “data at issue” has always encompassed Zwieback-keyed data, as confirmed by
 7    multiple orders of this Court and the Special Master. The following facts rebut Google’s assertion
 8    in the Opposition that Zwieback IDs are not used to key relevant data:
 9                    a.      The unauthorized transmission of Zwieback-keyed information was alleged,
10                            extensively, throughout the Complaint and First Amended Complaint. See
11                            Dkt. 1, Compl., ¶¶ 49, 158, 161, 170, 172, 177, 183, 188, 190 (filed July
12                            2020); Dkt. 163, First Am. Compl. ¶¶ 7b, 74, 148, 152-56, 157-58, 179, 255,
13                            and 298 (filed April 2021).
14                    b.      As noted above, Google’s Opposition asserts that it complied with the April
15                            30, 2021 Order by “searching both the authenticated and unauthenticated
16                            identifiers that Named Plaintiffs provided, and produc[ed] the associated
17                            data.” Opp. at 10:3-5. The “unauthenticated” identifiers provided by Named
18                            Plaintiffs to facilitate Google’s search included the Zwieback identifier. See
19                            Joint Decl. ¶ 71.
20                    c.      On September 30, 2020, in response to Plaintiffs’ First Set of Requests for
21                            Production of Documents, Google stated that it would be producing
22                            discovery about Google Ads, i.e. Zwieback-related information. See Exhibit
23                            21. For example, in response to Request Nos. 6 and 7, Google stated it would
24                            produce responsive documents related to, among other things, “Google
25                            Analytics, Google Ad Manager and Google Ads.”
26                    d.      On April 9, 2021, during the first Rule 30(b)(6) deposition relating to the log
27                            preservation, Plaintiffs’ counsel asked Google representative, David
28                            Monsees, where data shown in a sample transmission to www.google.com


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 1                      (Zwieback) in ¶ 158 of the original Complaint (now First Am. Compl. ¶ 165)
 2                      would be sent and stored at Google. Mr. Monsees did not know the precise
 3                      location but testified that he:
 4                              “would likely look in search logs, maps logs, play logs, news logs,
                                blog search logs, blotter logs, video search logs, shopping logs,
 5                              Google travel logs, trip logs. ... any service that could run off of the
                                Google.com domain I think you would have to look to be complete.
 6
                                ... if we wanted to be accurate, we would need to search logs or other
 7                              storage for all services that may serve off of the Google.com
                                domain.”
 8
                        Exhibit 22, Google 30(b)(6), Monsees I, at 242:22-243:19. Plaintiffs’
 9
                        attempt to follow up on this issue was interrupted by counsel for Google’s
10
                        request for a break, mid-question. Id. at 243:21-25.
11
                  e.    On April 29, 2021, the Court heard its first argument on Plaintiffs’ Request
12
                        for Production of Named Plaintiff Data, RFP No. 5. During the hearing,
13
                        Plaintiffs’ counsel raised the specific topic of Google Ads identifiers,
14
                        mentioning Zwieback specifically and suggesting a compromise requiring
15
                        Google to:
16                              search the database for data that’s associated with three types of
17                              identifiers, one is called Gaia; ... the other is Zwieback; ... and then
                                the third type of identifier is called Biscotti. ... So data associated that
18                              can be found through a search of the database with Gaia, Zwieback,
                                and Biscotti cookies associated with the named Plaintiffs.
19
                        Apr. 29, 2021 Hr’g Tr. 40:19-41:10. Google counsel did not object or assert
20
                        that Zwieback was not relevant to the case. Instead, Google counsel
21
                        acknowledged that Zwieback was like a “license plate” uniquely identifying
22
                        the car being driven by the Plaintiff. Id. at 43:5-12.
23
                  f.    On May 3, 2021, Plaintiffs provided identifiers for newly-added Plaintiffs,
24
                        including Google Ads identifiers and a specific list of disclosures associated
25
                        with Google Ads.
26
                  g.    On May 4, 2021, Google responded, not by objecting that Google Ads
27
                        identifiers were out of scope, but instead by requesting the newly added
28
                        Plaintiffs “promptly provide requisite [SCA] consent” necessary for

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 1                      production.
 2                h.    On June 4, 2022, in advance of the second 30(b)(6) deposition of Google
 3                      representative David Monsees, Plaintiffs’ counsel sent Google two letters
 4                      apprising Google that they would seek specific answers about Zwieback and
 5                      transmissions to Google.com in the 30(b)(6) deposition.
 6                      i.     In the first letter, Plaintiffs specifically identified Zwieback_ID as an
 7                             identifier for which they expected Google to provide answers. See
 8                             Exhibit 23. Google did not object that Zwieback was “out-of-scope.”
 9                     ii.     In the second letter, Plaintiffs provided Google with examples of
10                             prospective deposition exhibits relating to the allegations in the
11                             Complaint and First Amended Complaint. See Exhibit 24. The
12                             examples contained transmissions from Chrome to Google.com when
13                             a Named Plaintiff was on a non-Google website and where Zwieback
14                             and Gaia-keyed cookies and the content of the Plaintiffs’
15                             communications were sent to Google even though the Named
16                             Plaintiff was not synced. See id. Google did not object that Zwieback
17                             or transmissions to Google.com were out-of-scope. Nor could it. The
18                             examples were taken directly from Plaintiffs First Amended
19                             Complaint ¶ 177. See id.
20                i.    During the second 30(b)(6) deposition on June 11, 2022, Plaintiffs asked
21                      Google representative, David Monsees, specific questions about Chrome
22                      transmission to Google.com from non-Google websites. See Exhibit 25,
23                      Google 30(b)(6), Monsees II, at 612:18-613:7; 616:15-617:4 (testifying, “we
24                      can confidently say” that examples of Zwieback transmissions from FAC
25                      ¶ 168 “would relate[] to ads on Google’s owned and operated properties”).
26                      Mr. Monsees testified that the Zwieback transmission in FAC ¶ 165 was
27                      “stored in a search log” (id. at 636:5-9) and the Zwieback transmission in
28                      FAC ¶ 177 would likely be stored in a search log, “probably a remarketing


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 1           42.     Google’s Opposition also falsely asserts that (1) Zwieback is not relevant to
 2    Google’s tracking of Not Synced users on non-Google properties; (2) direct Search logs are not
 3    relevant to this action. Opp. at 11, n.11. Testimony obtained by Plaintiffs, and documents produced
 4    by Google on June 30, 2022, conclusively demonstrate that these misrepresentations are false. The
 5    following facts rebut Google’s assertions in the Opposition:
 6                   a.     On March 30, 2022, Google employee Vic Liu admitted that Chrome sends
 7                          Not Synced Zwieback-keyed Information from communications on “non-
 8                          Google websites” to Google.com. See Exhibit 28, Liu Dep. at 19:22-20:10.
 9                          Mr. Liu stated that these transmissions are “completely disjoint from the
10                          information that Display Ads system gathers from that browser regarding …
11                          some activities … on a non-Google website.” Id. at 66:18-68:4. By
12                          “completely disjoint,” Mr. Liu explained that a team referred to as “A1”,
13                          which is charged with gathering information for Google Search, Gmail, and
14                          Google Shopping from non-Google websites, keys the data by Zwieback,
15                          while Display Ads keyed it by Biscotti. Id. In addition, Mr. Liu admitted that
16                          Zwieback-keyed data is used to build “the set of data or user profile” from
17                          “user’s browsers” on non-Google websites. Id. at 17:22-18:2. The “profile
18                          data” Google derives from activity on non-Google websites that is “sent from
19                          a browser to Google” is “used to inform Search Ads shown to a person.” Id.
20                          at 47:22-48:19. Despite being “completely disjoint” from Display Ads or
21                          Analytics logging, Google never disclosed additional Zwieback logs about
22                          activity that occurs on non-Google websites.
23                   b.     On June 30, 2022, Google produced information it had previously searched,
24                          segregated, and preserved from direct searches at Google.com, i.e.
25                          communications when the user was knowingly sending a communication to
26                          Google via Google.com. This production shows that Google derives profile
27                          and user list information from tracking users on non-Google websites via
28                          Chrome unauthorized not synced Chrome transmissions to Google.com to


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 1          Executed this 21st day of July 2022, at New York, New York.
 2                                                  DICELLO LEVITT & GUTZLER LLC
 3
                                                    /s/ David Straite
 4                                                  David Straite
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                                               ATTESTATION
 1

 2           I, Jay Barnes, am the ECF User whose identification and password are being used to file
 3    this document pursuant to Civil L.R. 5-1(h)(3). I attest under penalty of perjury that the signatories
 4    above have concurred in the filing of this document.
 5
                                                             /s/ Jay Barnes
 6
                                                             Jay Barnes
 7                                                           Simmons Hanly Conroy LLC

 8                                                           Counsel for Plaintiffs
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